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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA
                                                No. 11 CR 691-1
              v.
                                                Magistrate Judge MARIA VALDEZ
AUDEL SANDOVAL

                   PROTECTIVE ORDER GOVERNING DISCOVERY

       Upon the motion of the government, pursuant to Fed. R. Crim. P. 16(d), it is

hereby ORDERED:

       1.     All of the materials provided by the United States in preparation for, or in

connection with, any stage of the proceedings in this case (collectively, "the materials")

are subject to this protective order and may be used by defendant and defendant’s counsel

(defined as counsel of record in this case) solely in connection with the defense of this

case, and for no other purpose, and in connection with no other proceeding, without

further order of this Court.

       2.     Defendant and defendant’s counsel shall not disclose the materials or their

contents directly or indirectly to any person or entity other than persons employed to

assist in the defense, persons who are interviewed as potential witnesses, counsel for

potential witnesses, and other persons to whom the Court may authorize disclosure

(collectively, “authorized persons”). Potential witnesses and their counsel may be shown

copies of the materials as necessary to prepare the defense, but may not retain copies

without prior permission of the Court.
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       3.     Defendant, defendant’s counsel, and authorized persons shall not copy or

reproduce the materials except in order to provide copies of the materials for use in

connection with this case by defendant, defendant’s counsel, and authorized persons.

Such copies and reproductions shall be treated in the same manner as the original

materials.

       4.     Defendant, defendant’s counsel, and authorized persons shall not disclose

any notes or records of any kind that they make in relation to the contents of the

materials, other than to authorized persons, and all such notes or records are to be treated

in the same manner as the original materials.

       5.     Before providing materials to an authorized person, defense counsel must

provide the authorized person with a copy of this Order.

       6.     Upon conclusion of all stages of this case, all of the materials and all copies

made thereof shall be destroyed or returned to the United States, unless otherwise ordered

by the Court. The Court may require a certification as to the disposition of any such

materials.

       7.     To the extent any material is produced by the United States to defendant or

defendant’s counsel by mistake, the United States shall have the right to request the return

of the material and shall do so in writing. Within five days of the receipt of such a

request, defendant and/or defendant’s counsel shall return all such material if in hard

copy, and in the case of electronic materials, shall certify in writing that all copies of the

specified material have been deleted from any location in which the material was stored.

       8.     The restrictions set forth in this Order do not apply to documents that are or
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become part of the public court record, including documents that have been received in

evidence at other trials, nor do the restrictions in this Order limit defense counsel in the

use of discovery materials in judicial proceedings in this case, absent prior permission

from this Court.

       9.     Nothing contained in this Order shall preclude any party from applying to

this Court for further relief or for modification of any provision hereof.

                                           ENTER:

                                           _______________________________
                                           MARIA VALDEZ
                                           Magistrate Judge
                                           United States District Court
                                           Northern District of Illinois

Date: __11/2/11_____________
